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 1                               UNITED STATES DISTRICT COURT
 2                            NORTHERN DISTRICT OF CALIFORNIA
 3                                    SAN FRANCISCO DIVISION
 4
     RE CATHODE RAY TUBE (CRT)                         No. 07-cv-5944-SC
 5   ANTITRUST LITIGATION,                             MDL No. 1917
 6
     This Document Relates to:                         [PROPOSED] ORDER GRANTING
 7                                                     ADMINISTRATIVE MOTION TO FILE
     Sharp Electronics Corp, et al. v. Hitachi,        UNDER SEAL
 8   Ltd., et al., No. 13-cv-001173
 9

10
            Upon consideration of Thomson SA’s Administrative Motion to Seal portions of its
11
     Motion to Dismiss Newly Filed Direct Action Plaintiffs’ Complaints, the Declaration of Jeffrey S.
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     Roberts in support thereof, and the Court’s Order Granting Administrative Motion to Seal
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     Portions of Certain DAPs’ Amended Complaints [Dkt. No. 2310], and good cause appearing
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     therefore:
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            The Court hereby GRANTS Thomson SA’s motion to seal and orders that the portions of
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     Thomson SA’s Motion to Dismiss Newly Filed Direct Action Plaintiffs’ Complaints that
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     reference previously sealed portions of ¶ 138 of Office Depot’s First Amended Complaint are
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     properly sealable and shall be sealed.
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            IT IS SO ORDERED.
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22   DATED:       2/12/2014
                                                  Hon. Samuel Conti
23                                                United States District Judge

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     [PROPOSED] ORDER GRANTING                                             No. 07-5944-SC; MDL No. 1917
     ADMINISTRATIVE MOTION TO FILE UNDER
     SEAL
